Case 7:18-cv-00189-MFU Document 106 Filed 07/30/19 Page 1 of 1 Pageid#: 1862
                                                                                     cl-Enrs OFFICE U.S.DISK O URT
                                                                                            ATRMFIjO  -
                                                                                                       KE,VA
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                   IN THE UN ITED STATES DISTRICT COURT                                         JUL 3û 201!
                   FO R TH E W E STERN D IST RICT O F W RGIN IA                               Juu       oux   ,   cusax
                              R OAN OIW D IW SIO N                                       BY;
                                                                                                    P         RK

Y UN SO N G ZIqA O .
                                                Case N o.:7:18-cv-189
      Plaintiffy
V.


W RGIN IA POLYTE CH N IC                        By: M ichaelF.U rbansld
IN STIT UTE & STATE                                    ClziefUnited StatesDistrictJudge
U N IVE RSITY,E T M ,.

      D efendants.

                                            O RD E R

      Thism atterisbefore the coutton plaintiffYunsong Zhao'sm otion,ECF N o.105,

broughtplzrsuantto Rule41(a)(2)oftheFederalRulesofCivilProcedure,tovoluntarily
disnliss,with prejudice,thezemainingcauseofacéon (CountII)in theSecondAmended
Com plnintagainstdefendantRohsaan Settle,in hisofficialcapacity.Zhao indicatesthathe

nolongerwishesto pursueinjunctiveand declaratoryreliefagqinstSettleand thatSettledoes
notopposethism otion.

      A ccordingly,itisO RD E RE D thatthe rem aining cause ofacdon againstdefendant

SettleisherebyDISM ISSED with prejudice.ThiscaseisherebyDISM ISSED with
prejudiceand STRJCKRN from theacévedocketofthecourt.
      Itisso O RD E RE D .

                                              Entered:T'lzis#.
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                                              C 'e United StatesDistrictludge
